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 1 HANSON BRIDGETT LLP
   RAFFI V. ZEROUNIAN, SBN 236388
 2 rzerounian@hansonbridgett.com
   JUSTIN P. THIELE, SBN 311787
 3 Jthiele@hansonbridgett.com
   777 S. Figueroa Street, Suite 4200
 4 Los Angeles, California 90017
   Telephone: (213) 395-7620
 5 Facsimile: (213) 395-7615
 6 Attorneys for Plaintiﬀ LYMI Inc.
 7
 8                            UNITED STATES DISTRICT COURT
 9                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10
11 LYMI Inc.,                                        Case No. 2:24-cv-4564
12                    Plaintiﬀ,                      Complaint for
                                                     1) Copyright Infringement
13            v.                                     2) Lanham Act False Advertising
                                                     3) Lanham Act Registered
14 Few Moda Inc.,                                    Trademark Infringement
                                                     4) Lanham Act Common-Law
15                    Defendant.                     Trademark Infringement
                                                     5) California False or Misleading
16                                                   Statements
                                                     6) California Trademark
17                                                   Infringement
                                                     7) California Common Law Unfair
18                                                   Competition
19                                                   DEMAND FOR JURY TRIAL
20            Plaintiﬀ LYMI Inc., doing business as Reformation (“Reformation” or
21 “Plaintiﬀ”), for its complaint against Few Moda Inc. (“Few Moda” or “Defendant”)
22 alleges, upon personal knowledge with respect to itself and its acts and upon
23 information and belief as to all others, as follows.
24                                         Nature of Action
25            1.      Plaintiﬀ Reformation is a fashion brand that is a leader in sustainable
26 and quality fashion based in the Los Angeles area, founded in 2009 and operating
27 approximately 50 retail stores in the United States, Canada, and the United
28 Kingdom. Reformation has garnered a reputation for innovative, stylish designs that
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 1 are produced with a concern for sustainability, equitable treatment of workers, and
 2 the environment. Reformation’s products feature original designs that it creates in-
 3 house. Defendant Few Moda is a competing clothing brand that operates in the
 4 space of “fast fashion.”     is action arises from Few Moda’s infringement of
 5 Reformation’s original copyright-protected fashion-print designs by the sale of
 6 unauthorized copies on competing merchandise. Few Moda’s actionable conduct is
 7 also coupled with Few Moda’s trademark infringement and false or misleading
 8 statements that target Reformation in Few Moda’s product listings, specifically
 9 unsubstantiated claims that Few Moda’s products are sourced from the “same
10 manufacturer as Reformation.” In short, Few Moda has breached the bounds of fair
11 competition by deliberately trading oﬀ of Reformation’s original copyright-
12 protected works and the goodwill and consumer recognition embodied in
13 Reformation’s trademarks and brand identity while also making false or misleading
14 statements about the quality of its products as compared to Reformation’s. Because
15 of Few Moda’s blatant conduct, Reformation is compelled to bring this action to
16 protect its valuable, original works of creative expression as well as the goodwill
17 embodied in its trademarks from Few Moda’s unfair competition.
18                                           Parties
19            2.   Plaintiﬀ Reformation, under the name LYMI Inc., is a corporation
20 organized and existing under the laws of the State of Delaware, with its principal
21 place of business in Vernon, California.
22            3.   Defendant Few Moda is a corporation organized and existing under the
23 laws of the State of Delaware, with its principal place of business in New York, New
24 York.
25                                  Jurisdiction and Venue
26            4.     is is an action for infringement of copyright in violation of 17 U.S.C.
27 § 101 et seq., and for false advertising, trademark infringement, and unfair
28 competition in violation of 15 U.S.C. §§ 1114 and 1125(a)(1).        e Court has
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 1 jurisdiction over the subject matter of Plaintiﬀ’s claims for relief arising under the
 2 United States Copyright Act pursuant to 28 U.S.C. §§ 1331 and 1338(a).            e Court
 3 has jurisdiction over the subject matter of Plaintiﬀ’s claims for relief arising under
 4 the United States Lanham Act pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331
 5 and 1338(a).        e Court has jurisdiction over the subject matter of Plaintiﬀ’s state
 6 law claims under 28 U.S.C. § 1367 because they form part of the same case or
 7 controversy as Plaintiﬀ’s federal law claims.
 8            5.       e Court has personal jurisdiction over Few Moda because its
 9 infringing products and false or misleading statements, including those infringing
10 products and statements which are the subject of this action, were distributed in and
11 expressly marketed to California residents and retailers, and in particular residents
12 of this district.
13            6.   Venue is proper in this Court under 28 U.S.C. § 1400(a) because Few
14 Moda resides or may be found in this district. Venue is also proper in this Court
15 under 28 U.S.C. § 1391(b)(1) and (b)(2) because Few Moda is considered to reside
16 in this district and because a substantial part of the events or omissions giving rise to
17 Reformation’s claims occurred in this district.
18                        Allegations Common to All Claims for Relief
19                       Reformation and its Copyright-Protected Designs
20            7.   Reformation is a designer, manufacturer, and retailer of fashion and
21 apparel. Reformation creates numerous original fabric and print designs which it
22 uses to manufacture clothing that it sells on its website and its own brick-and-mortar
23 stores throughout the United States. Reformation’s clothing and designs have
24 garnered a reputation for quality and originality.
25            8.   Reformation is the author and owner of the following original,
26 copyright-protected works, which are the subject of corresponding registrations with
27 the United States Copyright Oﬃce:
28
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1     Name            Reformation Design                            Reg. No.
2     Splatter                                                      VA0002317840
3     (“Reformation
      Design 1”)
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15    Olympia                                                       VA0002317860
16    (“Reformation
      Design 2”)
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1     Name            Reformation Design                            Reg. No.
2     Lemonade                                                      VA0002323362
3     (“Reformation
      Design 3”)
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15    Lemon Drop                                                    VA0002331100
16    (“Reformation
      Design 4”)
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     COMPLAINT
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1     Name            Reformation Design                            Reg. No.
2     Clarissa                                                      VA0002331222
3     (“Reformation
      Design 5”)
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15    Posie                                                         VA0002335567
16    (“Reformation
      Design 6”)
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 1    Name              Reformation Design                               Reg. No.
 2    Orange Grove                                                       VA0002318468
 3    (“Reformation
      Design 7”)
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16 (collectively, all the “Reformation Designs”).
17            9.    Reformation has widely disseminated the Reformation Designs,
18 including but not limited to third parties in the fashion industry and through retail
19 advertising, display, and sales of its products.
20                            Reformation and its Trademarks
21            10.   Reformation is the owner of the REFORMATION trademark (the
22 “REFORMATION” Mark), which it has used since at least as early as 2008 in
23 United States commerce in connection with goods including clothing and apparel,
24 services including its online and brick-and-mortar retail stores, and related goods
25 and services.
26            11.     e REFORMATION Mark is the subject of United States Trademark
27 Reg. Nos. 4111272 and 4114140 (the “REFORMATION Registrations”). True and
28 correct copies of the REFORMATION Registrations and printouts of the current
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 1 status from the United States Patent and Trademark Oﬃce database are attached to
 2 this Complaint as Exhibit 1.       e REFORMATION Registrations are incontestable.
 3 Reformation also owns common law trademark rights in the REFORMATION Mark
 4 due to its longstanding and widespread use of the mark as an indicator of source
 5 throughout the United States.
 6            12.   Reformation is the owner of additional marks which include the names
 7 of its products or its original designs.   ese include the marks which form the names
 8 of the Reformation Designs, namely, SPLATTER, OLYMPIA, LEMONADE,
 9 LEMON DROP, CLARISSA, POSIE, and ORANGE GROVE. Reformation owns
10 common-law trademark rights in these marks due to its longstanding and
11 widespread uses of the marks as indicators of source throughout the United States.
12        Few Moda’s Infringement of Reformation’s Copyright-Protected Designs
13            13.   Few Moda created, manufactured, distributed, oﬀered for sale, and sold
14 fabrics or garments featuring designs (the “Accused Designs”) that are substantially
15 similar, strikingly similar, or identical to the Reformation Designs, without license,
16 authorization, or consent from Reformation, and continues to do so.
17            14.   Few Moda created and sold multiple garments bearing the Accused
18 Designs, as multiple colorways of specific garments (the “Accused Products”), and
19 continues to do so. Accordingly, each of the Accused Products contain multiple
20 garments which infringe the copyright rights in a specific Reformation Design.
21            15.   When compared side-by-side in the following representative and non-
22 exhaustive illustrations, it is clear that the Accused Designs produced and sold on
23 Accused Products by Few Moda copy the original, protectable expression found in
24 the Reformation Designs:
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1                 Reformation Design 1                “Accused Design 1”
                        Splatter                        Navy Polka Dot
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13                Reformation Design 2                “Accused Design 2”
14                     Olympia                            Blue Toile

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     20884102.1                             9                 Case No. 2:24-cv-4564
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1                 Reformation Design 3             “Accused Design 3”
                       Lemonade                       Lemon Print
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13                Reformation Design 4             “Accused Design 4”
14                    Lemon Drop                    Black Fruit Print
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     20884102.1                          10                Case No. 2:24-cv-4564
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1                 Reformation Design 5             “Accused Design 5”
                        Clarissa                    She’s Picky Dress
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                  Reformation Design 6            “Accused Design 6”
14                       Posie                Babysbreath Top Black Floral
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     20884102.1                          11                Case No. 2:24-cv-4564
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 1                Reformation Design 7                       “Accused Design 7”
                     Orange Grove                              Orange Grove
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15            16.   Many Few Moda products bearing the Accused Designs are currently
16 advertised and available for sale on Few Moda’s ecommerce website at
17 fewmoda.com as of the date of this Complaint.
18            17.   In at least one instance, Few Moda has specifically advertised its
19 products bearing the Accused Designs with names that are identical to the names
20 used by Reformation for the Reformation Designs. For example, Few Moda has
21 advertised products on Instagram bearing Accused Design 7 with the print name
22 “Orange Grove”—which is identical to the ORANGE GROVE mark used by
23 Reformation for products featuring Reformation Design 7 and the title under which
24 Reformation Design 7 is registered with the Copyright Oﬃce (highlighted to
25 emphasize):
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     20884102.1                                 12                   Case No. 2:24-cv-4564
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16            18.   Few Moda’s use of identical names in public advertising for its
17 infringing Accused Designs in certain contexts supports an inference that Few
18 Moda’s copyright infringement was done with full knowledge of Reformation’s
19 rights in the Reformation Designs, and therefore is willful.
20            19.     e elements, composition, arrangement, layout, and appearance of the
21 graphical elements of the Accused Designs on the Accused Products are
22 substantially similar to the corresponding Reformation Designs.
23            20.   Additionally, Few Moda’s use of Reformation’s common-law
24 ORANGE GROVE mark is likely to cause confusion, deception, or mistake on the
25 part of consumers as to the origin, sponsorship, or approval of Few Moda’s goods or
26 the existence of an aﬃliation, connection, or association between Few Moda and
27 Reformation’s ORANGE GROVE mark, and Few Moda will unjustly benefit from
28 such deception or confusion.
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 1    Few Moda’ False or Misleading Statements Regarding its Manufacturers and
                    Unauthorized use of REFORMATION Mark
 2
 3            21.   Few Moda maintains an ecommerce website for its products at
 4 fewmoda.com. Many of the product listings for apparel oﬀered at Few Moda’s
 5 website contain statements that reference Reformation by using the
 6 REFORMATION Mark.
 7            22.   On certain of Few Moda’s product listings on its website (including but
 8 not limited to some of the Accused Products), Few Moda prints the following
 9 statement which includes the REFORMATION Mark: “Same manufacturer as
10 Reformation.” For example (highlighted to emphasize):
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25            23.   Additionally, Few Moda repeats the “Same manufacturer as
26 Reformation” claim in its advertising materials outside its website, including in
27 posts on its social media accounts including Instagram. For example, the following
28 Instagram post on an account controlled by Few Moda advertises “Premium quality
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 1 dresses made by the same manufacturers as Reformation … for 50-80% less”
 2 (emphases added):
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16            24.     e statement “Same manufacturer as Reformation” is false or
17 misleading. On information and belief, the manufacturers of Few Moda’s products
18 are not the same as those used by Reformation during the times which Few Moda’s
19 statement has been published on Few Moda’s website. Additionally, the statement
20 “Same manufacturer as Reformation” will be interpreted by potential customers as a
21 material indication of the level of quality of Few Moda’s goods in a manner that
22 may be false or misleading.
23            25.   On information and belief, Few Moda deliberately published the
24 statement “Same manufacturer as Reformation” in order to unfair gain a competitive
25 advantage against Reformation.
26            26.     e statement “Same manufacturer as Reformation” is the type of
27 statement that would materially influence a potential purchaser of Few Moda’s
28 goods.
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 1            27.   Few Moda published and distributed the statement “Same manufacturer
 2 as Reformation” in interstate commerce in connection with the commercial
 3 advertising or promotion of its goods.
 4            28.     e statement “Same manufacturer as Reformation” was published
 5 widely, available nationwide and worldwide on the internet via Few Moda’s
 6 website.
 7            29.   Few Moda’s use of the REFORMATION Mark in the statement “Same
 8 manufacturer as Reformation” is likely to cause confusion, deception, or mistake on
 9 the part of consumers as to the origin, sponsorship, or approval of Few Moda’s
10 goods or the existence of an aﬃliation, connection, or association between Few
11 Moda and Reformation, and Few Moda will unjustly benefit from such deception or
12 confusion.
13            30.   On information and belief, Few Moda deliberately used the
14 REFORMATION Mark in the statement “Same manufacturer as Reformation” in
15 order to create such deception or confusion among consumers to the benefit of its
16 own products.
17            31.   Few Moda’s use of the REFORMATION Mark in connection with the
18 false or misleading statement “Same manufacturer as Reformation” will unjustly
19 increase the profitability and commercial success of Few Moda’s products to the
20 detriment of Reformation and at no cost to Few Moda.
21            32.   Few Moda’s use of the REFORMATION Mark in connection with the
22 false or misleading statements in the statement “Same manufacturer as
23 Reformation” will also diminish the value of the REFORMATION Mark and the
24 goodwill, reputation, and standing embodied therein.
25            33.   Unless restrained by this Court, Few Moda will unfairly compete with
26 Reformation by use of the REFORMATION MARK in connection with the
27 statement “Same manufacturer as Reformation” and Reformation is otherwise
28 without adequate remedy at law.
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 1                               FIRST CLAIM FOR RELIEF
 2                  (Copyright Infringement under 17 U.S.C. § 101 et seq.)
 3            34.   Reformation restates the foregoing paragraphs as if set forth here in full
 4 as part of this claim for relief.
 5            35.   Reformation is the exclusive owner of all copyright rights in the
 6 Reformation Designs.
 7            36.   Few Moda had access to the Reformation Designs including but not
 8 limited to through access to Reformation’s publicly-available online webstore and
 9 by access to actual, physical goods in the marketplace bearing the Reformation
10 Designs.
11            37.     e Accused Designs are identical or substantially similar to the
12 Reformation Designs, or are unauthorized derivative works of the Reformation
13 Designs.
14            38.   Few Moda infringed Reformation’s copyright rights through the
15 conduct alleged herein, including but not limited to creating copies, creating
16 derivative works, and manufacturing, distributing, and selling the Accused Products
17 bearing the Accused Designs without authorization or license from Reformation.
18            39.   Few Moda’s infringement was willful and intentional. Few Moda was
19 aware of Reformation and the Reformation Designs, and was aware that it did not
20 have a right, authorization, permission, or license to copy, create derivative works,
21 distribute, or sell the Accused Products bearing the Accused Designs.
22            40.   Reformation has been or is likely to be injured and suﬀer damages as a
23 result of Few Moda’s infringement of the Reformation Designs, including but not
24 limited to lost sales or licensing revenue, in an amount to be established at trial.
25            41.   Due to Few Moda’s infringement, Few Moda has gained profits that it
26 would not have absent Few Moda’s infringement of the Reformation Designs.
27 Accordingly, Reformation is entitled to disgorgement of Few Moda’s profits from
28 the Accused Products attributable to the infringement.
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 1            42.    Because at least some of the Reformation Designs were registered at
 2 the United States Copyright Oﬃce either before the commencement of Few Moda’s
 3 infringement or within three months of publication of the Reformation Designs,
 4 Reformation is entitled to recovery of statutory damages, attorney’s fees, and costs.
 5                               SECOND CLAIM FOR RELIEF
 6                  (Federal False Advertising under 15 U.S.C. § 1125(a)(1)(B))
 7            43.    Reformation restates the foregoing paragraphs as if set forth here in full
 8 as part of this claim for relief.
 9            44.    Few Moda’s above-averred actions constitute use in interstate
10 commerce of false or misleading descriptions of facts concerning Few Moda’s
11 goods in connection with Few Moda’s commercial advertising or promotion of its
12 competing products, and Reformation has been and is likely to be damaged by these
13 acts.
14            45.    Few Moda’s statements have actually misled or have a tendency to
15 mislead a substantial segment of consumers, and have resulted in the sale of Few
16 Moda’s products in competition with Reformation.
17            46.    Few Moda’s false or misleading statements are material and likely to
18 influence the purchasing decisions of consumers.
19            47.    Reformation has been or is likely to be injured and suﬀer damages as a
20 result of Few Moda’s false or misleading statements, including but not limited to by
21 direct diversion of sales from Reformation to Few Moda or by damaging the
22 goodwill Reformation has generated in its goods.
23            48.    Few Moda has obtained and continues to obtain unjust profits as a
24 result of these false or misleading statements. Reformation is entitled to recover
25 such profits.
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 1                                THIRD CLAIM FOR RELIEF
 2                (Lanham Act Trademark Infringement under 15 U.S.C. § 1114)
 3            49.    Reformation restates the foregoing paragraphs as if set forth here in full
 4 as part of this claim for relief.
 5            50.    Reformation is the owner of the registered REFORMATION Mark.
 6            51.    Few Moda’s above-averred actions constitute use in commerce of the
 7 registered REFORMATION Mark in connection with the sale, oﬀering for sale,
 8 distribution, or advertising of Few Moda’s goods in a manner that is likely to cause
 9 confusion, to cause mistake, or to deceive, including but not limited to as to
10 aﬃliation, connection, or association of Few Moda with Reformation or as to the
11 origin, sponsorship, or approval of the goods oﬀered in connection therewith.
12 Reformation has been and is likely to be damaged by these acts.
13            52.    Few Moda’s acts greatly and irreparably damage Reformation and will
14 continue to damage Reformation unless restrained by this Court. Reformation is
15 without an adequate remedy at law in that the amount of damages is diﬃcult to
16 ascertain with certainty. Accordingly, Reformation is entitled to, among other relief,
17 an order permanently enjoining and restraining Few Moda from using the
18 REFORMATION Mark.
19            53.    As a result of Few Moda’s infringement, Reformation has suﬀered
20 damages in an amount to be proven at trial.
21            54.    Reformation is further entitled to recover Few Moda’s profits
22 attributable to its infringement of Reformation’s trademark rights.
23            55.    Few Moda’s actions as described above are deliberate, willful,
24 fraudulent, and without any extenuating circumstances, and constitute a knowing
25 violation of Reformation’s rights. Reformation is therefore entitled to recover three
26 times the amount of its actual damages, and attorney’s fees and costs incurred in this
27 action, as this is an “exceptional” case under the Lanham Act.
28
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 1                              FOURTH CLAIM FOR RELIEF
 2         (Lanham Act Trademark Infringement under 15 U.S.C. § 1125(a)(1)(A))
 3            56.   Reformation restates the foregoing paragraphs as if set forth here in full
 4 as part of this claim for relief.
 5            57.   Reformation is the owner of the trademarks REFORMATION,
 6 SPLATTER, OLYMPIA, LEMONADE, LEMON DROP, CLARISSA, POSIE, and
 7 ORANGE GROVE, which it has used in United States commerce as indicators of
 8 source.
 9            58.   Few Moda’s above-averred actions constitute use in commerce of the
10 REFORMATION mark and ORANGE GROVE mark in connection with the sale,
11 oﬀering for sale, distribution, or advertising of Few Moda’s goods in a manner that
12 is likely to cause confusion, to cause mistake, or to deceive, including but not
13 limited to as to aﬃliation, connection, or association of Few Moda with
14 Reformation or as to the origin, sponsorship, or approval of the goods oﬀered in
15 connection therewith. Reformation has been and is likely to be damaged by these
16 acts.
17            59.   Few Moda’s acts greatly and irreparably damage Reformation and will
18 continue to damage Reformation unless restrained by this Court. Reformation is
19 without an adequate remedy at law in that the amount of damages is diﬃcult to
20 ascertain with certainty. Accordingly, Reformation is entitled to, among other relief,
21 an order permanently enjoining and restraining Few Moda from using the
22 REFORMATION mark, ORANGE GROVE mark, or any other trademark owned by
23 Reformation.
24            60.   As a result of Few Moda’s infringement, Reformation has suﬀered
25 damages in an amount to be proven at trial.
26            61.   Reformation is further entitled to recover Few Moda’s profits
27 attributable to its infringement of Reformation’s trademark rights.
28
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 1            62.   Few Moda’s actions as described above are deliberate, willful,
 2 fraudulent, and without any extenuating circumstances, and constitute a knowing
 3 violation of Reformation’s rights. Reformation is therefore entitled to recover three
 4 times the amount of its actual damages, and attorney’s fees and costs incurred in this
 5 action, as this is an “exceptional” case under the Lanham Act.
 6                               FIFTH CLAIM FOR RELIEF
 7         (False or Misleading Statements under Cal. Bus. & Prof. Code § 17500)
 8            63.   Reformation restates the foregoing paragraphs as if set forth here in full
 9 as part of this claim for relief.
10            64.   Few Moda’s above-averred actions constitute the dissemination and
11 making of untrue or misleading statements in connection with the sale or disposition
12 of Few Moda’s goods, which by the exercise of reasonable case should have been
13 known to be false or misleading.
14            65.     e conduct of Few Moda as alleged herein was purposeful and
15 intentional and was engaged in for the purpose of depriving Reformation of property
16 or legal rights or otherwise causing injury, and was despicable conduct that
17 subjected Reformation to cruel and unjust hardship in conscious disregard of its
18 rights, and was performed with fraud, oppression, or malice so as to justify an award
19 of exemplary or punitive damages against Few Moda in an amount to be proven at
20 trial.
21                               SIXTH CLAIM FOR RELIEF
22          (California Unfair Competition under Cal. Bus. & Prof. Code § 17200)
23            66.   Reformation restates the foregoing paragraphs as if set forth here in full
24 as part of this claim for relief.
25            67.   Few Moda’s above-averred actions related to false or misleading
26 statements and use of the REFORMATION Mark and ORANGE GROVE mark
27 constitute unlawful, unfair, or fraudulent business practices.
28
     20884102.1                                  21                   Case No. 2:24-cv-4564
     COMPLAINT
  Case 2:24-cv-04564 Document 1 Filed 05/31/24 Page 22 of 25 Page ID #:22




 1            68.   As a direct and proximate result of the above-described deceptive trade
 2 practices, Reformation has suﬀered and is suﬀering irreparable injury. Reformation
 3 will continue to suﬀer irreparable injury unless the Court enters an appropriate
 4 injunction.
 5                             SEVENTH CLAIM FOR RELIEF
 6                   (California Common Law Trademark Infringement)
 7            69.   Reformation restates the foregoing paragraphs as if set forth here in full
 8 as part of this claim for relief.
 9            70.   Few Moda’s above-averred actions related to use of the
10 REFORMATION Mark and ORANGE GROVE mark constitute infringement and
11 passing oﬀ in violation of the common law of California.
12                              EIGHTH CLAIM FOR RELIEF
13                      (California Common Law Unfair Competition)
14            71.   Reformation restates the foregoing paragraphs as if set forth here in full
15 as part of this claim for relief.
16            72.   Few Moda’s above-averred actions related to false or misleading
17 statements and use of the REFORMATION Mark and ORANGE GROVE mark in
18 commerce constitute a false designation of origin in violation of the common law of
19 California.
20            73.   Few Moda has misappropriated for itself the commercial value of the
21 REFORMATION Mark and ORANGE GROVE mark in conscious disregard of
22 Reformation’s rights, and have impaired the value of Reformation’s goodwill in its
23 marks among consumers.
24            74.   In conducting such acts, Few Moda is guilty of oppression, fraud, or
25 malice, as defined in Cal. Civ. Code. § 3294.
26                                   PRAYER FOR RELIEF
27            Plaintiﬀ Reformation prays that judgment be entered against Defendant Few
28 Moda as follows:
     20884102.1                                  22                   Case No. 2:24-cv-4564
     COMPLAINT
 Case 2:24-cv-04564 Document 1 Filed 05/31/24 Page 23 of 25 Page ID #:23




1             1.        at Few Moda, its principals, oﬃcers, partners, franchisees, agents,
2 employees, licensees, aﬃliates, distributors, producers, any parent and subsidiary
3 company, attorney and representatives, and all of those in privity with or acting
4 under their direction or pursuant to their control, be preliminarily and permanently
5 enjoined and restrained from directly or indirectly:
6                  a.      To immediately and forever cease all use of the Accused Designs
7                          or any designs that infringe the Reformation Designs;
8                  b.      To immediately and forever cease all infringing use of
9                          Reformation’s trademarks;
10                 c.      To remove all false and misleading information from its websites
11                         and other promotional material; and
12                 d.      To publish corrective advertising.
13            2.        at Few Moda be required to:
14                 a.      Account for and pay to Reformation all profits derived by its acts
15                         of infringement, false advertising, and unfair competition;
16                 b.      Pay to Reformation the amount of all damages incurred by
17                         Reformation as a result of Few Moda’s acts of infringement,
18                         false advertising, and unfair competition, including that such
19                         damages be increased due to the willful nature of Few Moda’s
20                         infringement;
21                 c.      Pay to Reformation statutory damages under the Copyright Act,
22                         17 U.S.C. § 504, including that such damages be increased due
23                         to the willful nature of Few Moda’s infringement;
24                 d.      Pay to Reformation the costs of this action, together with
25                         reasonable attorney’s fees and disbursements, in accordance with
26                         15 U.S.C.§ 1117, 17 U.S.C. § 505, and Cal. Civ. Code § 1021.5;
27                 e.      Pay to Reformation exemplary and punitive damages by reason
28                         of Defendant’s acts of unfair competition, in accordance with
     20884102.1                                   23                  Case No. 2:24-cv-4564
     COMPLAINT
 Case 2:24-cv-04564 Document 1 Filed 05/31/24 Page 24 of 25 Page ID #:24




1                        Cal. Civ. Code § 3294 and the common law of the State of
2                        California; and
3                  f.    Award to Reformation the costs and expenses of this litigation as
4                        well as pre-judgement interest.
5             3.   All such other and further relief as the Court deems just and equitable.
6
7 DATED: May 31, 2024                            HANSON BRIDGETT LLP
8
9
                                           By:         /s/ Raﬃ V. Zerounian
10
                                                 RAFFI V. ZEROUNIAN
11                                               JUSTIN P. THIELE
12                                               Attorneys for Plaintiﬀ LYMI Inc.

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     20884102.1                                  24                  Case No. 2:24-cv-4564
     COMPLAINT
 Case 2:24-cv-04564 Document 1 Filed 05/31/24 Page 25 of 25 Page ID #:25




1                                    Demand for Jury Trial
2             Pursuant to Fed. R. Civ. P. 38 and Local Rule 38-1, Plaintiﬀ LYMI Inc.
3 demands a trial by jury on all issues so triable.
4
5 DATED: May 31, 2024                             HANSON BRIDGETT LLP
6
7
                                            By:         /s/ Raﬃ V. Zerounian
8
                                                  RAFFI V. ZEROUNIAN
9                                                 JUSTIN P. THIELE
10                                                Attorneys for Plaintiﬀ LYMI Inc.

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     20884102.1                                   25                  Case No. 2:24-cv-4564
     COMPLAINT
